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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

 THOMAS T. McCLENDON, as Liquidating
 Trustee of the Galardi Creditor Trust,

          Plaintiff,
 v.                                                    Case No. 1:23-cv-22893-JB

 RASHEEDAH MAYS; ASTRID GABBE;
 LAW OFFICE OF ASTRID E. GABBE, P.A.;
 AINSWORTH DUDLEY; DUDLEY LAW,
 LLC,

        Defendants.
 ______________________________________/

      INTERPLEADER PLAINTIFF’S LIMITED REPLY IN SUPPORT OF DISCHARGE

         Interpleader Plaintiff, Thomas T. McClendon, solely in his capacity as Liquidating Trustee

 of the Galardi Creditor Trust (“Interpleader Plaintiff”), through undersigned counsel, files this

 Limited Reply in Support of Discharge following Defendant, Rasheedah Mays’ Responses [DE

 232, 233 and 234] to Proposed Intervenor, Christopher Kosachuk’s Motions to Strike [DE 226,

 227, and 228]. Interpleader Plaintiff states that it does not take a position on the issues, arguments,

 or defenses raised by any of the parties or proposed intervenors in this matter. Rather, Interpleader

 Plaintiff re-adopts the position that it should be discharged from this matter and awarded its

 attorneys’ fees, and costs incurred from the interpleaded funds deposited with the Court’s Registry,

 an amount totaling $32,500. In further support thereof, Interpleader Plaintiff incorporates the

 arguments and authority from its prior submissions, as if fully stated herein: Interpleader

 Plaintiff’s Motion for Discharge and Award of Attorneys’ Fees, filed December 8, 2023 [DE 115];

 Interpleader Plaintiff’s Reply in Support of Motion for Discharge and Award of Attorneys’ Fees

 and Costs, filed January 18, 2024 [DE 173]; Stipulation for Interpleader Plaintiff’s Discharge and



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 Award of Attorneys’ Fees and Costs, filed March 27, 2024 [DE 218]; and the Stipulation for

 Voluntary Dismissal With Prejudice, filed March 27, 2024 [DE 219].



        Dated: July 22, 2024                   Respectfully submitted,

                                               /s/ PATRICIA A. REDMOND
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                                               Counsel for Interpleader Plaintiff, Thomas T.
                                               McClendon, as Liquidating Trustee of the Galardi
                                               Creditor Trust




                                 CERTIFICATE OF SERVICE

        I CERTIFY that I caused this document to be filed electronically on July 22, 2024, via the

 Court’s CM/ECF website. I further certify that the document is being furnished as it is entered on

 the Court docket by transmission of Notices of Electronic Filing (“NEF”) generated by CM/ECF

 upon those counsel or parties who are authorized to receive NEF in this case; and via U.S. Mail to

 those parties who are not registered to receive NEF in this case.



                                               /s/ PATRICIA A. REDMOND
                                               PATRICIA A. REDMOND, ESQ.

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                   United States District Court, Southern District of Florida

        The following parties are registered to receive Notice of Electronic Filing and should have
 been served through CM/ECF.

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